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           EXHIBIT B
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                          SECRETARY OF THE ARMY
                                    WASHINGTON




                                                                    0 1 JUL 2016

MEMORANDUM FOR SEE DISTRIBUTION

SUBJECT: Army Directive 2016-30 (Army Policy on Military Service of Transgender
Soldiers)


1. References:

  a. Department of Defense (DoD) Directive-type Memorandum (DTM) 16-005,
Military Service of Transgender Service Members, June 30, 2016.

  b. DoD Instruction 1300.28 (In-Service Transition for Transgender Service
Members), June 30, 2016.

2. Pursuant to references a and b, it is Army policy to allow open service by
transgender Soldiers. The Army is open to all who can meet the standards for military
service and remains committed to treating all Soldiers with dignity and respect while
ensuring good order and discipline. Transgender Soldiers will be subject to the same
standards as any other Soldier of the same gender. An otherwise qualified Soldier shall
not be involuntarily separated, discharged, or denied reenlistment or continuation of
service solely on the basis of gender identity.

3. No later than July 5, 2016, the Assistant Secretary of the Army for Manpower and
Reserve Affairs (ASA (M&RA)) will do the following.

   a. Establish a Transgender Service Implementation Group (TSIG) to develop policies
and procedures for transgender service. ASA (M&RA) will Chair the TSIG. Members of
the TSIG will be in the rank/grade of General Officer, Civilian Senior Executive Service,
or Command Sergeant Major/Sergeant Major and include representatives from the ASA
(M&RA), Deputy Chief of Staff G-1, Deputy Chief of Staff G-3/5/7, Office of General
Counsel, Office of the Judge Advocate General, Office of the Chief of Chaplains, the
Assistant Chief of Staff for Installation Management, U.S. Army Forces Command, U.S.
Army Training and Doctrine Command, Office of the Inspector General, and Office of
the Surgeon General.

  b. Establish and embed a Service Central Coordination Cell (SCCC) as a sub-
committee within the TSIG. The SCCC will be comprised of medical, legal, and military
personnel experts. The SCCC will serve as a resource for commanders, address
commanders' inquires, and process requests for exceptions to policy.
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4. All commands, organizations, activities, and personnel of the Department of the
Army will fully support the ASA (M&RA), as chair of the TSIG, in the execution of the
assigned tasks.

5. Exceptions to Policy (ETP). At present, the Army does not have codified procedures
and policy for gender transition to include completing a gender marker change in the
Defense Enrollment Eligibility Reporting System (DEERS). Until the Army establishes
such procedures and policy, the following guidance concerning ETPs will apply:

   a. For Soldiers whose gender transition is otherwise complete but are awaiting a
change to their gender marker, their ETPs shall be processed within ten days after
receipt of the ETP by the SCCC and shall be given a presumption in favor of approval.
For the purposes of this provision, a Soldier's gender transition is complete when the
Soldier has received a diagnosis indicating gender transition is medically necessary
from a military medical provider, has completed medically necessary treatment, and has
obtained the required documentation supporting a gender change. The Soldier's chain
of command shall provide the SCCC with a recommendation for action on the ETP, and
an assessment of an approved ETP on readiness and good order and discipline.

  b. All other requests for ETPs from Soldiers will include the medical diagnosis from a
military medical provider and an approved treatment plan with the expected date of
completion. The chain of command will provide recommendations for action and an
assessment of an approved ETP on readiness and good order and discipline.

   c. All requests will be submitted through the first General Officer in the chain of
command. Commanders shall forward all requests for ETPs related to gender transition
(to include application of standards for uniform and grooming, body composition
assessment, and physical readiness testing) through the chain of command to the
SCCC for a recommendation to the ASA (M&RA), who will make the decision.

  d. The ASA (M&RA) shall provide a report on a weekly basis to the Chief of Staff and
me summarizing the requests for ETPs and the ASA (M&RA)'s decisions.

6. The ASA (M&RA), through the TSIG, is responsible for ensuring completion of the
following tasks no later than the prescribed dates:

  a. Training and educating the force is necessary to sustain readiness. The Army
shall create a force-wide training and education plan no later than November 1, 2016.
This training shall be completed across the Army no later than July 1, 2017.

  b. The Army will continue to provide medically necessary care and treatment to all
Soldiers, consistent with applicable laws, policies, and procedures. No later than 45
days following DoD Under Secretary of Defense for Personnel and Readiness published

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    guidance on the provision of medical care to transgender Service members, the Army
    shall issue guidance to its medical providers to ensure they are prepared to offer or
    arrange for all medically necessary care for our transgender Soldiers.

       c. No later than October 1, 2016, the ASA (M&RA) will recommend a policy
    addressing the military service of transgender Soldiers, to include establishing a
    process by which transgender Soldiers may transition gender while serving consistent
    with mission, training, operational, and readiness needs and a procedure whereby a
    Soldier's gender marker will be changed in DEERS. In addition, the ASA (M&RA) will
    identify applicable Army issuances to be updated accordingly.

    7. All Soldiers should be able to perform their duties free from unlawful discrimination.
    It is Army policy that discrimination based on gender identity is a form of sex
    discrimination. Army commanders shall promote an environment that is free from
    gender identity discrimination. No later than October 1, 2016, the Army's issuances
    implementing the DoD Military Equal Opportunity Program shall be updated to prohibit
    discrimination on the basis of gender identity and incorporate such prohibitions in all
    aspects of the Army MEO program.

    8. The provisions of this directive are effective immediately and apply to all personnel in
    the Active Army, U.S. Army Reserve, Army National Guard, and Army National Guard of
    the United States. This directive shall be rescinded upon publication of revised
    issuances and updates to governing regulations.




                                              Eric K. F a n n i n g /
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